Case 3:24-cv-00347-AN   Document 218-8   Filed 08/05/24   Page 1 of 8




                 Exhibit 8
        Case 3:24-cv-00347-AN                  Document 218-8                 Filed 08/05/24            Page 2 of 8


From:              Pai, Rohan
To:                Ewart, Jason C.; Dickinson, Charles; Hall, Laura; Wint, Corene; Ma, Rachel; RobertBernheim-contact;
                   JaymeWeber-contact; NicoleGordon-contact; ShiraHoffman-contact; AmandaHamilton-contact; WillMargrabe-
                   contact; PaulHarper-contct; BrianYost-contact; SchonetteWalker-contact; GaryHonick-contact; LucusTucker-
                   contact; SamanthaFeeley-contact; JeffHerrera-contact; JuliaMeade-contact; CherylHiemstra-contact;
                   AngieMilligan-contact; ChristineCortez-contact; WilliamYoung-contact
Cc:                Wolf, Matthew M.; Pfaffenroth, Sonia Kuester; Davis, Joshua M.; Kientzle, Michael; Harik, Yasmine; Holler, John;
                   Cleveland, Christina; mark.perry@weil.com; zzz.External.Luna.Barrington@weil.com;
                   zzz.External.Bambo.Obaro@weil.com; zzz.External.Luke.Sullivan@weil.com; thassi@debevoise.com;
                   mschaper@debevoise.com; srselden@dbevoise.com; zzz.External.nborn@debevoise.com;
                   jmfried@debevoise.com; mcardena@debevoise.com; tebuckley@debevoise.com; htmehler@debevoise.com;
                   msventim@debevoise.com; zzz.External.mike.cowie@dechert.com; zzz.External.james.fishkin@dechert.com;
                   zzz.External.thomas.miller@dechert.com; zzz.External.emainigi@wc.com; jpitt@wc.com;
                   zzz.External.apodoll@wc.com; Holler, John; Ellingsen, Andrew
Subject:           RE: 3:24-cv-00347-AN FTC et al. v. Kroger Co. et al. - Expert Report of Dr. Mark Israel
Date:              Thursday, August 1, 2024 9:57:51 AM
Attachments:       image001.png



 External E-mail

Jay,

Given Dr. Israel’s substantial, and now repeated, improper attempts to offer new opinions well after
the close of discovery, additional deposition time cannot cure the prejudice to the FTC. We will file
our motion tomorrow. Please confirm that Defendants agree to our proposed briefing schedule, or
if Defendants think it would be helpful to meet and confer today.

Regards,
Rohan


From: Ewart, Jason C. <Jason.Ewart@arnoldporter.com>
Sent: Wednesday, July 31, 2024 8:23 PM
To: Pai, Rohan <rpai@ftc.gov>; Dickinson, Charles <cdickinson@ftc.gov>; Hall, Laura
<lhall1@ftc.gov>; Wint, Corene <cwint@ftc.gov>; Ma, Rachel <rma@ftc.gov>; RobertBernheim-
contact <Robert.Bernheim@azag.gov>; JaymeWeber-contact <Jayme.Weber@azag.gov>;
NicoleGordon-contact <Nicole.Gordon@doj.ca.gov>; ShiraHoffman-contact
<Shira.Hoffman@doj.ca.gov>; AmandaHamilton-contact <Amanda.Hamilton@dc.gov>;
WillMargrabe-contact <will.margrabe@dc.gov>; PaulHarper-contct <Paul.Harper@ilag.gov>;
BrianYost-contact <Brian.Yost@ilag.gov>; SchonetteWalker-contact <swalker@oag.state.md.us>;
GaryHonick-contact <ghonick@oag.state.md.us>; LucusTucker-contact <LTucker@ag.nv.gov>;
SamanthaFeeley-contact <SFeeley@ag.nv.gov>; JeffHerrera-contact <jherrera@nmag.gov>;
JuliaMeade-contact <jmeade@nmag.gov>; CherylHiemstra-contact
<Cheryl.Hiemstra@doj.state.or.us>; AngieMilligan-contact <amilligan@lvklaw.com>;
ChristineCortez-contact <cortez@lvklaw.com>; WilliamYoung-contact <william.young@wyo.gov>
Cc: Wolf, Matthew M. <Matthew.Wolf@arnoldporter.com>; Pfaffenroth, Sonia Kuester
<Sonia.Pfaffenroth@arnoldporter.com>; Davis, Joshua M. <Joshua.Davis@arnoldporter.com>;
Kientzle, Michael <Michael.Kientzle@arnoldporter.com>; Yasmine Harik -contact
<yasmine.harik@arnoldporter.com>; Holler, John <John.Holler@arnoldporter.com>; Cleveland,
Christina <Christina.Cleveland@arnoldporter.com>; mark.perry@weil.com;
Luna.Barrington@weil.com; Bambo.Obaro@weil.com; Luke.Sullivan@weil.com;
       Case 3:24-cv-00347-AN           Document 218-8          Filed 08/05/24      Page 3 of 8


thassi@debevoise.com; mschaper@debevoise.com; srselden@dbevoise.com;
nborn@debevoise.com; jmfried@debevoise.com; mcardena@debevoise.com;
tebuckley@debevoise.com; htmehler@debevoise.com; msventim@debevoise.com;
mike.cowie@dechert.com; james.fishkin@dechert.com; thomas.miller@dechert.com;
emainigi@wc.com; jpitt@wc.com; apodoll@wc.com; Holler, John <John.Holler@arnoldporter.com>;
Ellingsen, Andrew <Andrew.Ellingsen@arnoldporter.com>
Subject: RE: 3:24-cv-00347-AN FTC et al. v. Kroger Co. et al. - Expert Report of Dr. Mark Israel

Rohan –

Defendants do not agree to withdraw either Dr. Israel’s July 20 corrected report or his surrebuttal
report served yesterday.

With respect to the July 20 corrected report, which was used by Plaintiffs throughout Dr. Israel’s
deposition, we are puzzled by the government’s apparent position that Dr. Israel’s testimony now
should rely on the incorrect information that his July 20 submission corrected.

With respect to the July 30 surrebuttal, as Dr. Israel testified when describing the substance of the
analysis during his deposition, he was responding to an analysis Dr. Hill raised for the first time in
rebuttal. Although Defendants objected to Plaintiffs holding open Dr. Israel’s deposition, Defendants
will agree to make Dr. Israel available for a further one hour deposition limited to the July 30
surrebuttal report or, in the alternative, agree to a short surrebuttal by Dr. Hill limited to responding
to Dr. Israel’s surrebuttal report.

We are available to discuss. Please let us know by noon tomorrow how you would like to proceed.

Thanks,
Jay



From: Pai, Rohan <rpai@ftc.gov>
Sent: Wednesday, July 31, 2024 12:47 PM
To: Ewart, Jason C. <Jason.Ewart@arnoldporter.com>; Dickinson, Charles <cdickinson@ftc.gov>;
Hall, Laura <lhall1@ftc.gov>; Wint, Corene <cwint@ftc.gov>; Ma, Rachel <rma@ftc.gov>;
RobertBernheim-contact <Robert.Bernheim@azag.gov>; JaymeWeber-contact
<Jayme.Weber@azag.gov>; NicoleGordon-contact <Nicole.Gordon@doj.ca.gov>; ShiraHoffman-
contact <Shira.Hoffman@doj.ca.gov>; AmandaHamilton-contact <Amanda.Hamilton@dc.gov>;
WillMargrabe-contact <will.margrabe@dc.gov>; PaulHarper-contct <Paul.Harper@ilag.gov>;
BrianYost-contact <Brian.Yost@ilag.gov>; SchonetteWalker-contact <swalker@oag.state.md.us>;
GaryHonick-contact <ghonick@oag.state.md.us>; LucusTucker-contact <LTucker@ag.nv.gov>;
SamanthaFeeley-contact <SFeeley@ag.nv.gov>; JeffHerrera-contact <jherrera@nmag.gov>;
JuliaMeade-contact <jmeade@nmag.gov>; CherylHiemstra-contact
<Cheryl.Hiemstra@doj.state.or.us>; AngieMilligan-contact <amilligan@lvklaw.com>;
ChristineCortez-contact <cortez@lvklaw.com>; WilliamYoung-contact <william.young@wyo.gov>
Cc: Wolf, Matthew M. <Matthew.Wolf@arnoldporter.com>; Pfaffenroth, Sonia Kuester
      Case 3:24-cv-00347-AN          Document 218-8        Filed 08/05/24     Page 4 of 8


<Sonia.Pfaffenroth@arnoldporter.com>; Davis, Joshua M. <Joshua.Davis@arnoldporter.com>;
Kientzle, Michael <Michael.Kientzle@arnoldporter.com>; Harik, Yasmine
<Yasmine.Harik@arnoldporter.com>; Holler, John <John.Holler@arnoldporter.com>; Cleveland,
Christina <Christina.Cleveland@arnoldporter.com>; mark.perry@weil.com;
zzz.External.Luna.Barrington@weil.com <Luna.Barrington@weil.com>;
zzz.External.Bambo.Obaro@weil.com <Bambo.Obaro@weil.com>;
zzz.External.Luke.Sullivan@weil.com <Luke.Sullivan@weil.com>; thassi@debevoise.com;
mschaper@debevoise.com; srselden@dbevoise.com; zzz.External.nborn@debevoise.com
<nborn@debevoise.com>; jmfried@debevoise.com; mcardena@debevoise.com;
tebuckley@debevoise.com; htmehler@debevoise.com; msventim@debevoise.com;
zzz.External.mike.cowie@dechert.com <mike.cowie@dechert.com>;
zzz.External.james.fishkin@dechert.com <james.fishkin@dechert.com>;
zzz.External.thomas.miller@dechert.com <thomas.miller@dechert.com>;
zzz.External.emainigi@wc.com <emainigi@wc.com>; jpitt@wc.com; zzz.External.apodoll@wc.com
<apodoll@wc.com>; Holler, John <John.Holler@arnoldporter.com>; Ellingsen, Andrew
<Andrew.Ellingsen@arnoldporter.com>
Subject: RE: 3:24-cv-00347-AN FTC et al. v. Kroger Co. et al. - Expert Report of Dr. Mark Israel

 External E-mail



Counsel,

Dr. Israel’s second corrected report served on July 20 and surreply report served on July 30
are untimely and improper under the scheduling orders in the administrative proceeding and in
the Oregon action. Please let us know by 5pm today whether Defendants will withdraw these
reports in both actions or if you wish to meet and confer on this issue. Assuming that you will
not agree to withdraw these reports, we will move to exclude both reports and related
testimony on Friday. We will accompany our brief with a request that any opposition brief be
due on Monday (rather than on Sunday as required by Paragraph 17 of Judge Nelson’s
CMSO). We will be prepared to argue this motion at our conference with the Court on
Wednesday.

Regards,

Rohan Pai


From: Ewart, Jason C. <Jason.Ewart@arnoldporter.com>
Sent: Tuesday, July 30, 2024 11:30 PM
To: Pai, Rohan <rpai@ftc.gov>; Dickinson, Charles <cdickinson@ftc.gov>; Hall, Laura
<lhall1@ftc.gov>; Wint, Corene <cwint@ftc.gov>; Ma, Rachel <rma@ftc.gov>; RobertBernheim-
contact <Robert.Bernheim@azag.gov>; JaymeWeber-contact <Jayme.Weber@azag.gov>;
NicoleGordon-contact <Nicole.Gordon@doj.ca.gov>; ShiraHoffman-contact
<Shira.Hoffman@doj.ca.gov>; AmandaHamilton-contact <Amanda.Hamilton@dc.gov>;
WillMargrabe-contact <will.margrabe@dc.gov>; PaulHarper-contct <Paul.Harper@ilag.gov>;
BrianYost-contact <Brian.Yost@ilag.gov>; SchonetteWalker-contact <swalker@oag.state.md.us>;
      Case 3:24-cv-00347-AN           Document 218-8        Filed 08/05/24      Page 5 of 8


GaryHonick-contact <ghonick@oag.state.md.us>; LucusTucker-contact <LTucker@ag.nv.gov>;
SamanthaFeeley-contact <SFeeley@ag.nv.gov>; JeffHerrera-contact <jherrera@nmag.gov>;
JuliaMeade-contact <jmeade@nmag.gov>; CherylHiemstra-contact
<Cheryl.Hiemstra@doj.state.or.us>; AngieMilligan-contact <amilligan@lvklaw.com>;
ChristineCortez-contact <cortez@lvklaw.com>; WilliamYoung-contact <william.young@wyo.gov>
Cc: Wolf, Matthew M. <Matthew.Wolf@arnoldporter.com>; Pfaffenroth, Sonia Kuester
<Sonia.Pfaffenroth@arnoldporter.com>; Davis, Joshua M. <Joshua.Davis@arnoldporter.com>;
Kientzle, Michael <Michael.Kientzle@arnoldporter.com>; Yasmine Harik -contact
<yasmine.harik@arnoldporter.com>; Holler, John <John.Holler@arnoldporter.com>; Cleveland,
Christina <Christina.Cleveland@arnoldporter.com>; mark.perry@weil.com;
Luna.Barrington@weil.com; Bambo.Obaro@weil.com; Luke.Sullivan@weil.com;
thassi@debevoise.com; mschaper@debevoise.com; srselden@dbevoise.com;
nborn@debevoise.com; jmfried@debevoise.com; mcardena@debevoise.com;
tebuckley@debevoise.com; htmehler@debevoise.com; msventim@debevoise.com;
mike.cowie@dechert.com; james.fishkin@dechert.com; thomas.miller@dechert.com;
emainigi@wc.com; jpitt@wc.com; apodoll@wc.com; Holler, John <John.Holler@arnoldporter.com>;
Ellingsen, Andrew <Andrew.Ellingsen@arnoldporter.com>
Subject: RE: 3:24-cv-00347-AN FTC et al. v. Kroger Co. et al. - Expert Report of Dr. Mark Israel

Counsel –

Please see the attached surrebuttal report of Dr. Mark Israel. This report has been designated Highly
Confidential pursuant to Paragraph 7 of the Stipulated Protective Order entered by Judge Nelson on
April 29, 2024 in this matter on February 27, 2024.

Pursuant to Paragraph 11(b) of the Case Management and Scheduling Order entered by Judge
Nelson on April 12, 2024, the backup data for the report will be sent in a separate email. The
backup file has the following password: tXCXU2eNRnOeXLK.

Thanks,
Jay Ewart




From: Ewart, Jason C. <Jason.Ewart@arnoldporter.com>
Sent: Saturday, July 20, 2024 8:13 PM
To: Dickinson, Charles <cdickinson@ftc.gov>; Pai, Rohan <rpai@ftc.gov>; Hall, Laura
<lhall1@ftc.gov>; Wint, Corene <cwint@ftc.gov>; Ma, Rachel <rma@ftc.gov>; RobertBernheim-
contact <Robert.Bernheim@azag.gov>; JaymeWeber-contact <Jayme.Weber@azag.gov>;
NicoleGordon-contact <Nicole.Gordon@doj.ca.gov>; ShiraHoffman-contact
<Shira.Hoffman@doj.ca.gov>; AmandaHamilton-contact <Amanda.Hamilton@dc.gov>;
WillMargrabe-contact <will.margrabe@dc.gov>; PaulHarper-contct <Paul.Harper@ilag.gov>;
BrianYost-contact <Brian.Yost@ilag.gov>; SchonetteWalker-contact <swalker@oag.state.md.us>;
GaryHonick-contact <ghonick@oag.state.md.us>; LucusTucker-contact <LTucker@ag.nv.gov>;
SamanthaFeeley-contact <SFeeley@ag.nv.gov>; JeffHerrera-contact <jherrera@nmag.gov>;
      Case 3:24-cv-00347-AN           Document 218-8         Filed 08/05/24      Page 6 of 8


JuliaMeade-contact <jmeade@nmag.gov>; CherylHiemstra-contact
<Cheryl.Hiemstra@doj.state.or.us>; AngieMilligan-contact <amilligan@lvklaw.com>;
ChristineCortez-contact <cortez@lvklaw.com>; WilliamYoung-contact <william.young@wyo.gov>
Cc: Wolf, Matthew M. <Matthew.Wolf@arnoldporter.com>; Pfaffenroth, Sonia Kuester
<Sonia.Pfaffenroth@arnoldporter.com>; Davis, Joshua M. <Joshua.Davis@arnoldporter.com>;
Kientzle, Michael <Michael.Kientzle@arnoldporter.com>; Yasmine Harik -contact
<yasmine.harik@arnoldporter.com>; Holler, John <John.Holler@arnoldporter.com>; Cleveland,
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Luna.Barrington@weil.com; Bambo.Obaro@weil.com; Luke.Sullivan@weil.com;
thassi@debevoise.com; mschaper@debevoise.com; srselden@dbevoise.com;
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tebuckley@debevoise.com; htmehler@debevoise.com; msventim@debevoise.com;
mike.cowie@dechert.com; james.fishkin@dechert.com; thomas.miller@dechert.com;
emainigi@wc.com; jpitt@wc.com; apodoll@wc.com; Holler, John <John.Holler@arnoldporter.com>;
Ellingsen, Andrew <Andrew.Ellingsen@arnoldporter.com>
Subject: RE: 3:24-cv-00347-AN FTC et al. v. Kroger Co. et al. - Expert Report of Dr. Mark Israel

Counsel –

Please see the attached errata and corrected report of Dr. Mark Israel. This report has been
designated Highly Confidential pursuant to Paragraph 7 of the Stipulated Protective Order entered
by Judge Nelson on April 29, 2024 in this matter on February 27, 2024.

Pursuant to Paragraph 11(b) of the Case Management and Scheduling Order entered by Judge
Nelson on April 12, 2024, the backup data for the errata will be available shortly on the Compass
Lexecon SFTP.

Thanks,
Jay Ewart



From: Ellingsen, Andrew <Andrew.Ellingsen@arnoldporter.com>
Sent: Monday, July 1, 2024 4:26 PM
To: cdickinson@ftc.gov; rpai@ftc.gov; lhall1@ftc.gov; cwint@ftc.gov; rma@ftc.gov;
robert.bernheim@azag.gov; jayme.weber@azag.gov; nicole.gordon@doj.ca.gov;
shira.hoffman@doj.ca.gov; amanda.hamilton@dc.gov; will.margrabe@dc.gov;
paul.harper@ilag.gov; brian.yost@ilag.gov; swalker@oag.state.md.us; ghonick@oag.state.md.us;
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cheryl.hiemstra@doj.state.or.us; amilligan@lvklaw.com; cortez@lvklaw.com;
william.young@wyo.gov
Cc: Wolf, Matthew M. <Matthew.Wolf@arnoldporter.com>; Pfaffenroth, Sonia Kuester
<Sonia.Pfaffenroth@arnoldporter.com>; Davis, Joshua M. <Joshua.Davis@arnoldporter.com>;
Kientzle, Michael <Michael.Kientzle@arnoldporter.com>; Ewart, Jason C.
<Jason.Ewart@arnoldporter.com>; Harik, Yasmine <Yasmine.Harik@arnoldporter.com>; Holler, John
<John.Holler@arnoldporter.com>; Cleveland, Christina <Christina.Cleveland@arnoldporter.com>;
         Case 3:24-cv-00347-AN                      Document 218-8                  Filed 08/05/24             Page 7 of 8


mark.perry@weil.com; zzz.External.Luna.Barrington@weil.com <Luna.Barrington@weil.com>;
zzz.External.Bambo.Obaro@weil.com <Bambo.Obaro@weil.com>;
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zzz.External.thomas.miller@dechert.com <thomas.miller@dechert.com>;
zzz.External.emainigi@wc.com <emainigi@wc.com>; jpitt@wc.com; zzz.External.apodoll@wc.com
<apodoll@wc.com>; Holler, John <John.Holler@arnoldporter.com>
Subject: 3:24-cv-00347-AN FTC et al. v. Kroger Co. et al. - Expert Report of Dr. Mark Israel

Dear Counsel,

Attached please find the expert witness report of Dr. Mark Israel. Note that this report is designated
Highly Confidential pursuant to Paragraph 7 of the Stipulated Protective Order entered by Judge
Nelson on April 29, 2024.

Pursuant to Paragraph 11(b) of the Case Management and Scheduling Order entered by Judge
Nelson on April 12, 2024, the backup data and materials relied upon by Dr. Israel but not previously
produced are being sent by FTP to the service list for this matter and the individuals identified by
Complaint Counsel at Bates White.

Best,
Andrew
_______________
Andrew Ellingsen
Associate | Bio



601 Massachusetts Ave., NW
Washington, DC 20001-3743
T: +1 202.942.5721
Andrew.Ellingsen@arnoldporter.com
www.arnoldporter.com | LinkedIn



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